                         Case 3:20-cr-00771-KC Document 1 Filed 02/05/20 Page 1 of 2
AO 442 (REV. 12/85)


                                             United States District Court                                       FILED
                                                   Western District of Texas                                 Feb 5 2020
                                                      El Paso Division                                     Clerk, U.S. District Court
                                                                                                           Western District of Texas


                                                                                                     By:            CR
                                                                                                                            Deputy
USA                                                                 §
                                                                    § CRIMINAL COMPLAINT
vs.                                                                 § CASE NUMBER: EP:20-M -00713(1)
                                                                    §
(1) KERWIN GUILARTE-NOAH                                            §

                  I, the undersigned complainant being duly sworn state the following is true and correct to the best of my

knowledge and belief. On or about February 04, 2020 in El Paso county, in the WESTERN DISTRICT OF TEXAS

defendant did, being an alien to the United States, enter, attempt to enter, or was found in the United States after having

been previously excluded, deported, or removed from the United States without receiving permission to reapply for

admission to the United States from the Attorney General of the United States and the Secretary of Homeland Security,

the successor pursuant to Title 6, United States Code, Sections 202(3), 202(4), and 557



in violation of Title                 8              United States Code, Section(s)       1326



                  I further state that I am a(n) Border Patrol Agent and that this complaint is based on the following facts: "

The DEFENDANT, Kerwin GUILARTE-Noah, an alien to the United States and a dual citizen of Cuba and Jamaica

was found approximately 2.7 miles west of the Tornillo Port of Entry in Fabens, Texas in the Western District of

Texas. From "

Continued on the attached sheet and made a part of hereof.



Sworn to before me and subscribed in my presence,
                                                                                    Signature of Complainant
                                                                                    Rangel, Jorge L
                                                                                    Border Patrol Agent

February 5, 2020                                                                at EL PASO, Texas
File Date                                                                          City and State



ANNE T. BERTON                                                                      ______________________________
UNITED STATES MAGISTRATE JUDGE                                                      Signature of Judicial Officer

                                                                                    OATH TELEPHONICALLY SWORN
                                                                                    AT 1:19 P.M.
                                                                                    FED.R.CRIM.P. 4.1(b)(2)(A)
                  Case 3:20-cr-00771-KC Document 1 Filed 02/05/20 Page 2 of 2
CONTINUATION OF CRIMINAL COMPLAINT - EP:20-M -00713(1)

WESTERN DISTRICT OF TEXAS

(1) KERWIN GUILARTE-NOAH

FACTS (CONTINUED)

statements made by the DEFENDANT to the processing agent, DEFENDANT was determined to be a native of
Cuba and citizen of both Cuba and Jamaica, without immigration documents allowing him to be or remain in the
United States legally. Defendant has been previously removed from the United States to Jamaica on November
21, 2019 through Alexandria, LA. Defendant has not previously received the expressed consent from the Attorney
General of the United States or the Secretary of Homeland Security to reapply for admission into the United
States.



Because this affidavit is being submitted for the limited purpose of establishing probable cause as set forth
herein, I have not included each and every fact known to me concerning this investigation.


IMMIGRATION HISTORY:

The DEFENDANT has been deported 1 time(s), the last one being to JAMAICA on November 21, 2019, through
ALEXANDRIA, LA

CRIMINAL HISTORY:

NONE
